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_US. Department of Justice . / Criminal Docket
Washington, D.C. ,
11/20/2019/gh —

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McALLEN Division CR. No. M * 1 9 * ¢ 4 4 0
SEALED INDICTMENT Fits: December 4, 2019 judge: RICARDO H. HINOJOSA
County: Hidalgo ,
Lions #: 2019R06700 Attomeys: , :

’ UNITED STATES OF AMERICA RYAN K. PATRICK, UNITED STATES ATTORNEY
vO K. ALEJANDRA ANDRADE, ASST. U.S. ATTORNEY
JUAN P. GALINDO --WARRANT-- Ct. 1
Charge(s): Ct.l: Deprivation of rights under color of law

Title 18, United States Code, Section 242

Total

Counts
(1)
Penalty: Ct.1: Imprisonment for not more than 10 yrs. and/or a fine not to exceed $250,000 and not
more than a 3 yr. SRT

Agency: + Federal Bureau of Investigations — Sebastian Montes - 194C-SA-3035433.

Proceedings
Date

